                  Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 1 of 31                 U.fl~RT
                                                                                            EASTERN DISTRICT ARKANSAS

                                                                                                  FEB 0 5 2016
                                   IN THE UNITED STATES DISTRICT COURT JAM'!'~~CK, CLERK
                                  FOR THE EASTERN DISTRICT OF ARKANSA~y: ~-~ DEPCLERK
                                            WESTERN DIVISION

FREDERICK BROOKS                                                                                   PLAINTIFF

vs.                                           CASE NO.     "1:\loM/l \ - SWW I jVV
NEW PROJECT, LLC d/b/a HAMPTON INN &
SUITES                                                                                         DEFENDANTS


                                             PETITION FOR REMOVAL

          COMES NOW the Defendant, New Project, LLC d/b/a Hampton Inn & Suites, by its

attorneys, Barber Law Firm PLLC., and, for this Petition for Removal, states:

          1.               That, on or about December 23, 2015, an action was commenced in the Circuit

Court of Pulaski County, Arkansas, styled Frederick Brooks v. New Project, LLC d/b/a Hampton

Inn & Suites; Hilton Worlwide, Inc. and was assigned docket number 60CV-15-6400.                              In

compliance with 28 U.S.C. § 1446(a), true and correct copies of all known process and pleadings

filed with the Circuit Court Clerk are attached hereto and marked collectively as Exhibit "A";

          2.               That the above-described action is a civil action, which may be removed to this

Court by Defendant pursuant to the provisions of 28 U.S.C. §§ 1441and1446, in that it is a civil

action wherein the amount in controversy exceeds the sum of $75,000.00, exclusive of interest

and costs, and is between citizens and entities of different states, 28 U.S.C. § 1332 (a);

          3.               That, therefore, this action is one in which this Court would have original
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jurisdi<::tl'd'rt·pursuant
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                           to 28 U.S.C. § 1332;


          4.               That Defendant's Petition for Removal is being timely filed within thirty (30) days

of actual service of the Summons and Complaint which occurred on February 2, 2016 pursuant

to28U.S.C.§1446(b);                                          This case assigned to District Jydge w93~·J
                                                             and to Magistrate Judge \...,lo._J'+'pv......__ _ _ __

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            Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 2 of 31



       5.       That, for diversity purposes, Plaintiff, Frederick Brooks, is an individual and a

citizen of the state of Tennessee as alleged in the attached Complaint.

       6.       That, for diversity purposes, Plaintiff resides in Tennessee as alleged in the

attached Complaint.

       7.       That, for diversity purposes, Defendant, New Project, LLC d/bla Hampton Inn &

Suites, is an entity incorporated under the laws of the state of Arkansas with its principal place of

business in Little Rock, Pulaski County, Arkansas.

       8.       That complete diversity exists in this cause.

       9.       That, in compliance with 28 U.S.C. § 1446(d), notice of this removal has been

given to the Circuit Court of Pulaski County, Arkansas, as well as to counsel for Plaintiff, by the

filing and service of a Notice of Removal to Federal Court, a copy of which is attached hereto as

Exhibit "B".

       10.      A true and correct copy of the Notice of Removal to Federal Court is being filed

with the Clerk of the Circuit Court of Pulaski County, Arkansas this date.

       WHEREFORE, Defendant, New Project, LLC d/bla Hampton Inn & Suites, prays the

action now pending in the Circuit Court of Pulaski County, Arkansas, be removed therefrom to

this Court, and for all other just and proper relief to which they may be entitled.

                                       Respectfully submitted,

                                         Isl R. Kenny McCulloch
                                       R. Kenny McCulloch, AR Bar Number 88044
                                       Attorneys for Defendant New Project, LLC d/bla
                                       Hampton Inn & Suites
                                       Barber Law Firm PLLC
                                       425 West Capitol Avenue, Suite 3400
                                       Little Rock, AR 72201,3483
                                       Telephone: (501) 372,6175 I Fax: (501) 375,2802
                                       E,mail: rkmcculloch@barberlawfirm.com


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            Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 3 of 31



                                Verification by R. Kenny McCulloch
          I hereby state under oath that the statements set forth in the foregoing Petition are true
                                                                 . f.




STATE OF ARKANSAS
                                        ) ss.       VERIFICATION
COUNTY OF PULASKI                       )

     fh   SUBSCRIBED AND SWORN to before me, the undersigned Notary Public, on this, the
.5    Clay of February, 2016.

-          MARSHAM.ANDRESS
                  NOTARYPUBLIC
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          My Commission Expires April I, 2020
               Commission #12375574
               Pulaski County, Arkansas               M Y Commission Expires:
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                                            CERTIFICATE OF SERVICE

        I hereby certify that on February 5, 2016, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

Mr. Thomas L. Barron
Barron & Tucker, P.A.
212 Center Street. Suite 600
Little Rock, AR 72201


                                                 Isl R. Kenny McCulloch
                                                R. Kenny McCulloch




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     Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 4 of 31
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             IN THE CIRCUIT COURT OF PULASKI COUNTY, ARJ\.!A~fA.:!!._o_o_9 _:_4 _P....:ag::....e_s_              _J


                                           DIVISION

FREDERICK BROOKS                                                         PLAINTIFF

v.                                     NO. _ _ __


NEW PROJECT, LLC d/b/a HAMPTON                                       DEFENDANTS
INN & SUITES; HILTON WORL WIDE, INC.



                                       COMPLAINT


        Comes now, Frederick Brooks, (hereinafter "Plaintiff') and for his Complaint

against the Defendants, New Project, LLC d/b/a Hampton Inn & Suites and Hilton

Worldwide, Inc., alleges and states:

        1.     The Plaintiff is a resident of Tennessee.

        2.    The Defendant New Project, LLC d/b/a Hampton Inn & Suites 1s a

domestic Limited Liability Company.

        3.     The Defendant Hilton Worldwide, Inc., is a foreign corporation, licensed

to conduct business in Arkansas.

        4.     The Defendant New Project, LLC d/b/a Hampton Inn & Suites (Herein

after "Hampton Inn") owns and operates a hotel called Hampton Inn & Suites located at

130 I Shackleford Road, Little Rock, Arkansas 72211.

        5.     Upon information and belief, Hampton Inn & Suites operates its hotel

pursuant to a franchise agreement with Defendant Hilton Worldwide, Inc. (Hereinafter

"Hilton"), wherein Hilton granted Hampton Inn the use of Hilton's brand name, service




                                                                            EXHIBIT "A"
   Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 5 of 31




marks and operating systems. Hilton is entitled to periodic inspections to ensure that its

brand standards are maintained.

        6.     This is a claim for personal injuries which occurred at the Hampton Inn in

Little Rock.

        7.     This Court has jurisdiction of the parties and cause of action herein and is

the proper venue.

        8.     On or about March 2, 2014, sleet fell over Little Rock and the surrounding

area. As a result, the Hampton Inn used salt or other means to clear its entrances, exits

and the parking area in front of the lobby of ice. Inexplicably, the Hampton Inn failed to

clear the rest of its designated parking areas. In addition, the Hampton Inn failed to

restrict access or warn its customers that only portions of its parking had been cleared of

ice.

        9.     On the evenmg of March 4, 2014 the Plaintiff was a guest at the

Defendant's hotel. As a guest, he parked his car in the hotel's designated parking lot. As

the Plaintiff was walking to his car, he slipped on a patch of ice and fell, injuring his left

shoulder.

        10.    There was no material precipitation between March 2, 2014 and March 4,

2014.

        11.    The Defendant's hotel was open 24 hours a day and its employees knew or

should have known that the failure to clear its parking lot of ice created a hazard to its

customers, in that its customers were forced negotiate the ice on certain portions of the

designated parking lot. As such, the Defendant had a duty to either remove the hazard,

restrict access to the hazard or at least warn its customers.
  Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 6 of 31




        12.    The Defendant was negligent in the following manner:

               a.      Failing to maintain a safe premises;

               b.      Failing to remove the accumulations of ice and snow;

               c.      Failing to restrict access to the hazard;

               d.      Failing to warn its customers of the hazard;

       13.     The Plaintiffs damages and injuries were directly and proximately caused

by the Defendant's negligence. Specifically, the Plaintiff suffered a torn rotator cuff on

his left, which necessitated surgery.


        14.      Prior to the referenced incident, the Plaintiff was a healthy, able-bodied

person. As a result of his permanent injuries, the Plaintiff has lost time from work and

will continue to lose time in the future; the Plaintiff has suffered bodily pain, mental

anguish, and scarring and will continue to suffer same in the future. The Plaintiff also

incurred medical and related expenses and will incur same in the future. As such, he is

entitled to be awarded an amount that will compensate him for these losses.


        15.    Plaintiff demands a trial by jury on all issues herein plead.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Frederick Brooks, prays

for a jury trial and a judgment of this Court against the Defendants for damages as cited

herein; that his damages are in excess of that required by federal diversity jurisdiction;

and specifically against the Defendant for costs, penalties, pre and post judgment interest

and attorney fees, other costs of this action and any and all other relief to which he may

be entitled.


                                        Respectfully submitted,
Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 7 of 31




                         By:   ls/Thomas L. Barron
                               Thomas L. Barron (A.B.A #84007)
                               Barron & Tucker, P.A.
                               1012 West 2nd Street
                               Little Rock, Arkansas, 72201
                               Telephone: (501) 376-7939
                               Facsimile: (501) 376-7945
                               Email: tom@barrontucker.com
        Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 8 of 31
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                     IN THE Cll:tCUIT COURT OF PULASKI COUNTY, AR                          N~§--Jan-21    17:27:02
                                                                                                60CV-15-6400
                                        9111 DIVISION                                          C06D09 : 2 Pages

 FREDERICK BROOKS                                                                PLAINTIFF

".                                       NO. 60CV-15-6400


NEW PROJECT, LLC d/b/a HAMPTON                                              DEFENDANTS
INN & SUITES; HILTON WORLWIDE, INC.



        COMES NOW Thomas L. Barron, and first being duly sworn, deposes and saith as

follows: That I am the attorney for the Plaintiff, Frederick Brooks, in the above-styled

proceedings.

        1.         That I mailed to Defendant, Hilton Worldwide, Inc., Reg. Agent: Corporation

Service Company, 300 Spring Street, Ste. 900, Little Rock, AR 72201, via ce1tified mail, return

receipt requested, a Summons and Complaint, as filed with and issued through the Circuit Court

of Pulaski County and assigned Case Number 60CV-15-6400. Such document was registered

under A1ticle No. 701120000001 1155 2114.

        2.        That Jeff Johnson received such mail on January 7, 2016, as evidenced by the

return receipt attached hereto as Exhibit "A" and by reference incorporated herein.

        FURTHER AFFIANT SAITH NOT.

                                               ls/Thomas L. Barron
                                               Thomas L. Barron
                                               BARRON & TUCKER. P.A.
                                               10 I 2 West t 1d Street .
                                               Little Rock, Arkansas 7220 I
                                               (501) 376-7939
                                               Via Email: tom@barrontucker.com


2016.



My Commission Expires:                             ~ LISA McCLELLAND
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                              9th DIVISION


FREDERICK BROOKS                                                   PLAINTIFF

v.                              NO. 60CV·15·6400


NEW PROJECT, LLC d/b/a HAMPTON                                  DEFENDANTS
INN & SUITES; HILTON WORVNifiE, INC.
                     \)..)(){LLD lu t1)£- (\'\.c; M

          ORDER OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                           tJJ:f!11,,,._
      Pursuant to Rule 41 (a) of the Arkansas Rules of Civil   Procedure~ ~fl..t- PliiAtif{:
                                                                                                               J
complaint of Plaintiff, Frederick Brooks against Defendant, Hilton Worldwide, Inc.

is hereby voluntarily dismissed without prejudice. This matter remains pending as

to all other defendants.

      IT IS SO 0 RD ERED on   t=~ r Ii d,(   '1   2- , 2016.




APPROVED AS TO FORM:

BARRON & TUCKER, P.A.

By/s/Thomas L. Barron
Thomas L. Barron, A.B.A. # 84007
Barron & Tucker, P.A.
1012 West 2nd Street
Little Rock, Arkansas 72201
Phone: (501) 376-7939
Email: tom@barrontucker.com
ATTORNEYS FOR PLAINTIFF
      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 12 of 31
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                                       NINTH DIVISION

FREDERICK BROOKS                                                                     PLAINTIFF

vs.                                  CASE NO. 60CV-15-6400

NEW PROJECT, LLC d/b/a HAMPTON INN &
SUITES; HILTON WORLWIDE, INC.                                                   DEFENDANTS

                         ANSWER OF NEW PROJECT. LLC D/B/A
                             HAMPTON INN & SUITES

       Comes Defendant, New Project, LLC d/b/a Hampton Inn & Suites, by its attorneys,

Barber Law Firm PLLC, and for its Answer to Plaintiffs Complaint, states:

       1.      Defendant does not know the residency of Plaintiff and therefore cannot admit or

deny same.

       2.      Defendant admits that it is a domestic limited liability company organized under

the laws of the State of Arkansas.

       3.      Defendant admits that Hilton Worldwide, Inc. is a foreign corporation, licensed to

conduct business in Arkansas.

       4.      Defendant admits that New Project, LLC d/b/a Hampton Inn & Suites owns and

operates a hotel called Hampton Inn & Suites located at 1301 Shackleford Road, Little Rock,

AR72211.

       5.      Denied. The Hotel is not an establishment owned by Hilton, but is owned and

operated by another entity, New Project, LLC ("New Project"), through a franchise license

agreement with HLT Existing Franchise Holding LLC ("HLT"), as successor in interest to

Prom us Hotels, Inc. Both HLT and Prom us Hotels, Inc. are wholly owned subsidiaries of Hilton.




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      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 13 of 31




        6.      Defendant admits that Plaintiff is alleging a claim for personal injuries which

allegedly occurred at the Hampton Inn in Little Rock, Arkansas.

        7.      Defendant does not have sufficient information to admit or deny the allegations of

paragraph 7 of the Complaint and therefore those allegations are denied.

        8.      Defendant admits that Little Rock experienced cold winter weather in early

March 2014 but does not have sufficient information to admit or deny the remaining allegations

of paragraph 8 of the Complaint at this time and therefore those allegations are denied.

Defendant denies any wrongdoing on its part.

       9.      Defendant does not have sufficient information to admit or deny the allegations of

paragraph 9 of the Complaint at this time and therefore those allegations are denied. Defendant

denies any wrongdoing on its part.

        10.    Defendant does not have sufficient information to admit or deny the allegations of

paragraph 10 of the Complaint at this time and therefore those allegations are denied.

Defendant denies any wrongdoing on its part.

        11.    Defendant admits that the Hampton Inn & Suites is open 24 hours a day but

denies all other allegations contained in paragraph 11 of the Complaint.

        12.    Defendant denies all allegations contained in paragraph 12 of the Complaint

including all subparts.

        13.    Defendant denies all allegations contained in paragraph 13 of the Complaint.

        14.    Defendant does not have sufficient information to admit or deny the allegations of

paragraph 14 of the Complaint at this time and therefore those allegations are denied.

Defendant denies any wrongdoing on its part.




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     Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 14 of 31




           15.   Defendant admits that Plaintiff has requested a trial by jury and joins in that

request.

        16.      Defendant denies the allegations contained in the "Wherefore" prayer paragraph

of the Complaint.

        17.      Defendant states that this Answer is being filed pnor to completion of any

discovery and specifically reserves the right to plead further pending completion of discovery.

        18.      Defendant affirmatively pleads Plaintiffs comparative negligence which is a

proximate cause of his injury and is a complete or partial bar to any recovery and in diminution of

damages.

        19.      Defendant denies all allegations not admitted herein.

       WHEREFORE, having fully answered, Defendant, New Project, LLC d/bla Hampton Inn

& Suites, prays that the Complaint of Plaintiff be dismissed, for its costs herein expended,

attorney's fees and all other just and proper relief to which it may be entitled.

                                       Respectfully submitted,

                                         Isl R. Kenny McCulloch
                                       R. Kenny McCulloch
                                       AR Bar Number 88044
                                       Attorneys for Defendant New Project, LLC d/bla
                                       Hampton Inn & Suites
                                       Barber Law Firm PLLC
                                       425 West Capitol Avenue, Suite 3400
                                       Little Rock, AR 72201-3483
                                       Telephone: (501) 372-6175 I Fax: (501) 375-2802
                                       E-mail: rkmcculloch@barberlawfirm.com




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     Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 15 of 31




                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2016, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

Mr. Thomas L. Barron
Barron & Tucker, P.A.
212 Center Street. Suite 600
Little Rock, AR 72201


        I hereby certify that on February 3, 2016, I mailed the document and a copy of the Notice
of Electronic Filing (NEF) by United States Postal Service to the following non CM/ECF
participants:

Hilton Worldwide, Inc.
300 Spring Bldg., Suite 900
300 Spring Street
Little Rock, AR 72201


                                       Isl R. Kenny McCulloch
                                     R. Kenny McCulloch




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       Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 16 of 31
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                IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                  NINTH DIVISION

 FREDERICK BROOKS                                                                           PLAINTIFF

 VS,                                  CASE NO. 60CV-15-6400

NEW PROJECT, LLC d/b/a HAMPTON INN &
SUITES; HILTON WORLDWIDE, INC.                                                         DEFENDANTS

                  MOTION TO DISMISS OF HILTON WORLDWIDE, INC.

        Comes Defendant, Hilton Worldwide, Inc. (incorrectly named "Hilton Worlwide, Inc." in

the style of the Complaint, by and through its counsel, Barber Law Firm PLLC, and for its

Motion to Dismiss pursuant to Rule 12(b)(6) Ark. R. Civ. P., states:

         1.     Defendant moves to dismiss the Complaint as to Hilton Worldwide, Inc.

(hereinafter "Hilton"), on the basis that Plaintiff has failed to state facts upon which relief can be

granted pursuant to Rule 12 (b)(6) Ark. R. Civ. P.

        2.      In the Complaint, there are very few references to Hilton. In paragraph 5 of the

Complaint Plaintiff simply alleges that Hampton Inn & Suites (hereinafter "Hampton") operates

pursuant to a franchise agreement with Hilton wherein Hilton granted Hampton the use of

Hilton's brand name, service marks and operating system and Hilton is entitled to periodic

inspections to ensure that its brand standards are maintained. '

        3.      There are no other references to Hilton in the Complaint other than those set

forth above. There is no allegation of any negligence of any kind against Hilton. There is no

basis for direct liability or vicarious liability as to Hilton. Furthermore, there is no legal basis for




                                                   1
      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 17 of 31




 any vicarious liability or liability of Hilton for any alleged negligence of New Project, LLC d/b/a

 Hampton Inn & Suites.

         4.      Attached hereto as Exhibit "A" is the Affidavit of Scott Schrank, Vice President.

 Brand Performance Support for the Hampton Inn Brand for Hilton Worldwide, Inc.              In his

 affidavit Schrank clearly sets forth the relationship between Hilton, as franchisor, and Hampton

 Inn & Suites Hotel located on 1301 South Shackleford Road, Little Rock, Arkansas. Schrank's

 affidavit establishes that the Hampton Inn &Suites Hotel is not an establishment owned by

Hilton but is owned and operated by Defendant New Project, LLC through a franchise license

agreement with HLT Existing Franchise Holding, LLC ("HLT") as successor in interest to

Prom us Hotels, Inc. He also clearly states that both HLT and Promus Hotels, Inc. are wholly

owned subsidiaries of Hilton.

        5.      Schrank also states that HLT has no responsibility of any kind for the day to day

activities of the personnel working at the hotel and further did not control or supervise the

operation of or staff at the hotel in any way on the date of the incident at issue in this action.

Furthermore, Schrank states that HLT had no responsibility for the maintenance of the parking

lot and adjacent areas of the hotel.

        6.      The affidavit of Schrank clearly establishes that Hampton Inn & Suites is the

owner of the hotel in question located at 1301 South Shackleford Road, Little Rock, Arkansas.

Further Schrank's affidavit clearly shows that Hilton Worldwide, Inc. had no responsibility of any

kind from the day to day operation of the hotel including supervision, maintenance, or inspection

of the parking lot at the hotel.

        7.      As such, Defendant, Hilton Worldwide, Inc., is entitled to the entry of an Order

of Dismissal with Prejudice.


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      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 18 of 31




        8.     This motion is supported by a Brief in Support which is filed contemporaneously

 herein and incorporated herein by reference.

        WHEREFORE, Defendant, Hilton Worldwide, Inc., prays that the Complaint of Plaintiff

be dismissed for failure to state facts upon which relief can be granted, for its costs herein

expended, attorney's fees and all other just and proper relief to which it may be entitled.

                                      Respectfully submitted,

                                        Isl R. Kenny McCulloch
                                      R. Kenny McCulloch
                                      AR Bar Number 88044
                                      Attorneys for Defendant Hilton Worldwide, Inc.
                                      Barber Law Firm PLLC
                                      425 West Capitol Avenue, Suite 3400
                                      Little Rock, AR 72201-3483
                                      Telephone: (501) 372-6175 /Fax: (501) 375-2802
                                      E-mail: rkmcculloq_h{f'.ilbarberlawfirm .corn

                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2016, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

Mr. Thomas L. Barron
Barron & Tucker, P.A.
212 Center Street. Suite 600
Little Rock, AR 72201


        I hereby certify that on February 3, 2016, I mailed the document and a copy of the Notice
of Electronic Filing (NEF) by United States Postal Service to the following non CM/ECF
participants:

Hilton Worldwide, Inc.
300 Spring Bldg., Suite 900
300 Spring Street
Little Rock, AR 72201

                                        Isl R. Kenny McCulloch
                                      R. Kenny McCulloch

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    Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 19 of 31




               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                NINTH DIVISION

 FREDERICK BROOKS
 PLAINTIFF

 vs.                                                                  CASE NO. 60-CV-15-6400

 NEW PROJECT, LLC d/b/a HAMPTON INN &
 SUITES; HILTON WORLW1DE, lNC.
 DEFENDANfS

                             AFFIDAVIT OF SCOTT SCHRANK

        I, Scott Schrank, being duly sworn and hereby declare as follows:

         1.    I am Vice President, Brand Performance Support for the Hampton Inn Brand for

Hilton Worldwide, Inc. ("Hilton"), am an adult, am suffering under no disability and make this

affidavit based upon my personal knowledge of the facts herein, as well as file materials to

which I have had access.

        2.     Hilton is a Delaware corporation that owns, licenses, leases, operates, manages,

and provides various services for a network of hotels, inns, conference centers, timeshare

properties, and other operations. Within that network of hotels, inns, and conference centers,

Hilton also owns, licenses, leases, operates, and manages Hampton Inn brand hotels throughout

the United States.

        3.     Hilton, through its subsidiaries and affiliates, grants licenses for selected, first-

class, independently owned or leased hotel properties, for purposes of branding and marketing.

        4.     There is a Hampton Inn and Suites hotel located at 1301 South Shackleford Road,

Little Rock, AR 72211 (the "Hotel").

        5.     Plaintiff in the above styled action has commenced a lawsuit against Hilton

Worldwide, Inc. in connection with an alleged personal injury at the Hotel on or around March 4,

2014.


                                   {006049-0341390()241244.DOC;I}1                               EXHIBIT

                                                                                           I       ''A''
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         6.      The Hotel is not an establishment o'Nned by Hilton, but is owned and operated by

 another entity, New Project, LLC ("New Project"), through a franchise license agreement with

 HL T Existing Franchise Holding LLC ("HLT"), as successor in interest to Promus Hotels, Inc.

 Both HLT and Promus Hotels, Inc. are wholly owned subsidiaries of Hilton.

         7.     As a result of the franchise license agreement, the Hotel operates under certain

"marks" including the license, brand, service marks, copyrights, trademarks, logos, insignia,

emblems, symbols, designs, slogans and distinguishing characteristics, including trade names

and all other marks or characteristics associated with or in connection with the Hampton

"brand."

        8.      In this instant case, HL T granted a license to New Project for purposes of

operating the Hotel.

        9.      New Project is required to maintain insurance naming HLT and its subsidiaries

and affiliates as additional insureds, among other obligations.

        10.     In addition, New Project is required to indemnify HLT, its successors and assigns,

and to hold them harmless from all losses, costs, liabilities, damages, claims and expenses,

including reasonable attorney's fees arising out of occurrences such as the one that the Plaintiff

brought in this action.

        11.    Per the franchise license agreement, HLT has no responsibility of any kind for the

day-to-day activities or the personnel working at the Hotel and further, did not control or

supervise the operation of or staff at the Hotel in any way on the date of the incident at issue in

this action. Specifically, HLT has no responsibility for the maintenance of the parking lot and

adjacent areas of the hotel.

       12.     Per the franchise license agreement, HLT does not employ the staff at the Hotel.




                                    {006049-034139 00241244 DOC; I }2
  Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 21 of 31




FURTHER AFFIANT SAYETIINAUGHT.


                                         Scott Schrank


Sworn to before me this ~'day of   Ja.\'\\Ja.o/ , 2016.
?~.tud/l!/aJk~
Notary Public




                             (006049-034139 00241244.DOC;   1)3
      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 22 of 31
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               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                 NINTH DIVISION

FREDERICK BROOKS                                                                         PLAINTIFF

vs.                                   CASE NO. 60CV-15-6400

NEW PROJECT, LLC d/b/a HAMPTON INN &
SUITES; HILTON WORLDWIDE, INC.                                                       DEFENDANTS

  BRIEF IN SUPPORT OF MOTION TO DISMISS OF HILTON WORLDWIDE, INC.

        Separate Defendant, Hilton Worldwide, Inc. ("HW") (incorrectly named "Hilton

Worlwide, Inc." in the style of the Complaint and for its Motion to Dismiss pursuant to Rule

12(b) (6) Ark. R. Civ.P., states:

                                        I. INTRODUCTION

        Plaintiffs Complaint should be dismissed because HW neither owed nor undertook any

duty with respect to the Plaintiff and because there is no evidence of apparent agency between

HW and the franchisee New Project, LLC.

        HW had no responsibility for the management or supervision of the daily operations of

the hotel, and more specifically, exercised no control, maintenance, repair or supervision of the

parking lot where Plaintiff alleges he fell on ice.         HW's primary purpose is the creation and

maintenance of hotel brands and trademarks for the purpose of selling the same to business

owners. Finally, there is no evidence of actual or apparent agency by the franchisee on which

Plaintiff could base a claim for vicarious liability.




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       The franchise owner, New Project, LLC, is solely responsible for the management and

safe operation of the hotel. By virtue of its limited control over those aspects of the franchise

which relate to brand quality and consistency, HW did not owe Plaintiff a duty to protect him

from harm. For these reasons, HW respectfully asks the Court to dismiss Plaintiff's Complaint as

against them.

                                        II. ARGUMENT

       A.       HW owes no duty to Plaintiff under a theory of vicarious liability

       Arkansas law has not recognized a right to make a direct-negligence claim against a

franchisor. See Jones v. Filler, Inc., 43 F. Supp. 2d 1052 (W.D. Ark. 1999). Courts construing

issues of franchisor liability in Arkansas have relied on theories of agency and vicarious liability-

not direct liability. See id.; see Miles .v. Century 21 Real Estate LLC, 4:05-CV-1088 GTE, 2007

WL 92795 (E.D. Ark. Jan. 11, 2007). This is consistent with a substantial number of other

jurisdictions which analyze franchisor liability solely under a theory of vicarious liability.   See

generally Greil v. Travelodge Int'!., Inc., 186 Ill. App. 3d 1061, 541 N.E.2d 1288 (1989) (holding

that questions of fact existed as to whether franchisor exercised sufficient control over hotel so as

to create agency relationship); Oberlin v. Marlin American. Corp., 596 F.2d 1322 (7th Cir. 1979)

(considering whether licensing of trademark creates agency relationship); Murphy v. Holiday Inns,

Inc., 216 Va. 490 (1975) (license agreement did not create a principal-agent relationship between

licensor and motel, and therefore guest could not recover against licensor in slip and fall);

Singleton v. International Dairy Queen, Inc., 332 A.2d 160 (Del. Super. 1975) (analyzing whether

franchisee was independent contractor or apparent agent; not analyzing primary liability); Butler

v. Colorado Int'l Pancakes, Inc., 510 P.2d 443, 445 (Colo. Ct. App. 1973); McLaughlin v. Chicken

Delight, Inc., 165 Conn. 317 (197 3) (franchisor not liable for death resulting from plaintiff being


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       Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 24 of 31




struck by vehicle delivering food, where the court found an absence of an agency relationship

between the driver and franchisor); Smith v. Cities Oil Service Oil Co., 346 F.2d 349 (7th Cir.

1965) (considering whether agency relationship existed sufficient to impose liability on oil-

company owner for incident at service station; "the determinative question is the actual control

of the operation of the business"); but see Utica Mut. Ins. Co. v. Precision Mech. Servs., Inc., 122

Conn. App. 448, 454, 998 A.2d 1228, cert. denied, 298 Conn. 926, 5 A.3d 487 (2010) (analyzing

direct franchisor liability).

         Attached hereto as Exhibit "A" is the Affidavit of Scott Schrank, Vice President. Brand

Performance Support for the Hampton Inn Brand for Hilton Worldwide, Inc. In his affidavit

Schrank clearly sets forth the relationship between Hilton, as franchisor, and Hampton Inn &

Suites Hotel located on 1301 South Shackleford Road, Little Rock, Arkansas.                Schrank's

affidavit establishes that the Hampton Inn &Suites Hotel is not an establishment owned by

Hilton but is owned and operated by Defendant New Project, LLC through a franchise license

agreement with HLT Existing Franchise Holding, LLC ("HLT") as successor in interest to

Promus Hotels, Inc. He also clearly states that both HLT and Promus Hotels, Inc. are wholly

owned subsidiaries of Hilton.

         Schrank also states that HLT has no responsibility of any kind for the day to day activities

of the personnel working at the hotel and further did not control or supervise the operation of or

staff at the hotel in any way on the date of the incident at issue in this action. Furthermore,

Schrank states that HLT had no responsibility for the maintenance of the parking lot and

adjacent areas of the hotel.

         The affidavit of Schrank clearly establishes that Hampton Inn & Suites is the owner of

the hotel in question located at 1301 South Shackleford Road, Little Rock, Arkansas. Further


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     Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 25 of 31




Schrank's affidavit clearly shows that Hilton Worldwide, Inc., had no responsibility of any kind

from the day to day operation of the hotel including supervision, maintenance, or inspection of

the parking lot at the hotel.

       B.      HW owed no duty to Plaintiff under a direct negligence theory

               1.      The risk of the alleged harm suffered by Plaintiff was not foreseeable to
                       HW because HW does not lease, own, operate or supervise its
                       franchisees' hotels.

       The alleged harm (ice on a parking lot after a winter storm) was not foreseeable   to   HW,

because HW's involvement with the hotel facility was limited to ensuring brand standards were

met and because it does not control daily operations in any manner, this alleged harm was not

and could not have been foreseeable to HW.

       Finally, nowhere in the Franchise Agreement did HW undertake to ensure patron safety.

The limited degree of oversight contemplated by the Franchise Agreement (i.e., requiring that

the franchisee provide government permits, inspection reports, etc.) does nothing to modify other

terms in the Franchise Agreement which unequivocally provide that the franchisor is "solely

responsible" for exercising ordinary business control over the hotel. Because the terms of the

Franchise Agreement do not contemplate any supervision or control by HW as to safety

measures, it owed and undertook no duty to third party patrons.

               2.      HW did not have a relationship with Plaintiff sufficient to impose a
                       duty on HW to ensure Plaintiffs safety.

       Plaintiffs contention that HW owed them a duty is based entirely on the alleged fact that

the harm Plaintiff encountered was foreseeable to HW. However, even assuming the risk of ice

on the parking lot after a winter storm was foreseeable, that determination does not by itself

impose a duty on HW to protect Plaintiff.          Franchisors in every industry could certainly



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contemplate a wide number of risks of harm that might befall patrons at their franchises.

However, that fact alone does not extend liability to the franchisor, where the franchisor does

not control the aspect of the franchise which results in harm to the third party. "[T]he franchise

relationship sets out a detailed scheme of control between two autonomous businesses," and it is

well settled that a franchisor's duty extends only to the extent of its own undertaking. Michael

R. Flynn, The Law of Franchisor Vicarious Liability: A Critique, 1993 Colum. Bus. L. Rev. 89, 90

(1993).

          It is well established that a duty can exist only where a risk of harm is foreseeable. See

Costner v. Adams, 82 Ark. App. 148, 158, 121S.W.3d164, 171 (2003); see Coca Cola Bottling Co.

v. Gill, 352 Ark. 240, 100 S.W.3d 715 (2003).         However, Plaintiffs argument on this point

ignores an essential and fundamental aspect of the duty analysis-specifically, whether, based on

the facts and circumstances, there are "relations between individuals [that] may impose upon one

a legal obligation for the other." See Marlar v. Daniel, 368 Ark. 505, 247 S.W.3d 473 (2007)

(citing W. Prosser, Handbook on the Law of Torts,§ 42 at 244 (4th ed. 1971)). Even where a

risk to a party is foreseeable, no duty arises if it would be unreasonable under the circumstances

to impose a duty on that party to protect another. See, e.g., Marlar, 368 Ark. 505, 509, S.W.3d

473, 476 (2007) (holding that the relations between one party in a divorce case and the

adversary's expert witness was such that it would be unreasonable to impose upon the expert a

legal duty to the other party); see, e.g., Shannon v. Wilson, 239 Ark. 143, 947 S.W.2d 349 (1997).

Under prior Arkansas dramshop case law, for example, providers of alcohol were not liable to

individual injured by intoxicated drivers-despite a degree of foreseeability of such harm

associated with the sale of alcohol-as they did not bear a sufficient relationship to the injured

party. Carr v. Turner, 238 Ark. 889, 385 S.W.2d 656 (1965). In other jurisdictions where courts


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     Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 27 of 31




have considered direct (as opposed to vicarious) franchisor liability, the question of whether a

sufficient relationship exists between a franchisor and a plaintiff/patron has turned on

considerations of whether the franchisor exercised control over the harmful condition. See, e.g.,

Whitten v. Ky. Fried Chicken Corp., 470 N.E.2d 1353, 1357 (Ind. Ct. App. 1991) (holding that the

amount of control sufficient to create a duty on the part of the franchisor "must consist of

something more than a general right to make suggestions or recommendations or to order the

work stopped or resumed").

       Courts have found a duty on the part of franchisors to protect a patron from harm where,

for instance, the franchisor supplied and required a particular piece of equipment be used on the

premises, and that piece of equipment subsequently resulted in harm to the plaintiff. See, e.g.,

Papasthis v. Beall ISO Ariz. 279, 723 P.2d 97 (Ariz. Ct. App. 1986) (franchisor held liable for its

negligent selection and recommendation of a soft drink dispenser rack which injured plaintiff).

Absent such circumstances, though, courts tend not to impose liability for a franchise's unsafe

premises on franchisors that have no control over daily operations. Yassin v. Certified Grocers of

Illinois, Inc., 150 Ill. App. 3d 1052 (1986) (franchisor of grocery stores that had no control over

daily operations owed no duty to keep patron safe from a meat tenderizer).

       Here, as with the expert in Marlar, even assuming a risk of harm to Plaintiff was

foreseeable to HW (it was not), HW owed no duty to protect Plaintiff from the alleged harm of

ice on the parking lot during a winter storm because HW lacked any sort of reasonable

relationship to Plaintiff in that regard, as it exercised no control over any aspect of the hotel that

could have caused Plaintiff the particular harm at issue. Under HW's franchise system, HW does

not instruct the franchisee, beyond certain brand standards, as to any aspect of the operation of

the business or the maintenance of the hotel or its parking lot.


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     Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 28 of 31




                                         III. CONCLUSION

        WHEREFORE, Separate Defendant HW prays that its Motion to Dismiss be granted,

that Plaintiff's Complaint be dismissed as against them with prejudice, for its costs and attorney's

fees, and for all other just and proper relief to which it is entitled.

                                         Respectfully submitted,

                                           Isl R. Kenny McCulloch
                                        R. Kenny McCulloch
                                        AR Bar Number 88044
                                        Attorneys for Defendant New Project, LLC d/bla
                                        Hampton Inn & Suites
                                        Barber Law Firm PLLC
                                        425 West Capitol Avenue, Suite 3400
                                        Little Rock, AR 72201-3483
                                        Telephone: (501) 372-61751 Fax: (501) 375-2802
                                        E-mail: rkmcculloch@barberlawfirm.com

                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2016, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

Mr. Thomas L. Barron
Barron & Tucker, P.A.
212 Center Street. Suite 600
Little Rock, AR 72201

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300 Spring Bldg., Suite 900
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                                           Isl R. Kenny McCulloch
                                         R. Kenny McCulloch



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      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 29 of 31
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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANS A_~ co5 oo 9 : 1 Page
                                      NINTH DIVISION

FREDERICK BROOKS                                                                    PLAINTIFF

vs.                               CASE NO. 60CV-15-6400

NEW PROJECT, LLC d/bla HAMPTON INN &
SUITES; HILTON WORLDWIDE, INC.                                                  DEFENDANTS

                                 ENTRY OF APPEARANCE

       Comes R. Kenny McCulloch of Barber Law Firm PLLC, and enters his appearance as an

attorney of record for Defendant Hilton Worldwide, Inc.

                                    Respectfully submitted,

                                      Isl R. Kenny McCulloch
                                    R. Kenny McCulloch
                                    AR Bar Number 88044
                                    Attorneys for Defendant Hilton Worldwide, Inc.
                                    Barber Law Firm PLLC
                                    425 West Capitol Avenue, Suite 3400
                                    Little Rock, AR 72201-3483
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                                      Isl R. Kenny McCulloch
                                    R. Kenny McCulloch
      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 30 of 31




              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                NINTH DIVISION

FREDERICK BROOKS                                                                   PLAINTIFF

vs.                                   CASE NO. 60CV-15-6400

NEW PROJECT, LLC d/b/a HAMPTON INN &
SUITES                                                                         DEFENDANTS


                      NOTICE OF REMOVAL TO FEDERAL COURT

TO:    Mr. Larry Crane
       Pulaski County Circuit Court
       401 West Markham Street, Suite 100
       Little Rock, AR 72201-1425

       Thomas L. Barron
       Barron & Tucker, P.A.
       212 Center Street. Suite 600
       Little Rock, AR 72201

       You are hereby notified that on February 5, 2016, a Petition for Removal of this cause

from the Circuit Court of Pulaski County, Arkansas will be filed in the United States District

Court, Eastern District of Arkansas. Copies of pleadings in this matter are attached hereto and

marked collectively as Exhibit "A".

                                       Respectfully submitted,

                                         Isl R. Kenny McCulloch
                                       R. Kenny McCulloch
                                       AR Bar Number 88044
                                       Attorneys for Defendant New Project, LLC d/b/a
                                       Hampton Inn & Suites
                                       Barber Law Firm PLLC
                                       425 West Capitol Avenue, Suite 3400
                                       Little Rock, AR 72201-3483
                                       Telephone: (501) 372-6175 I Fax: (501) 375-2802
                                       E-mail: rkmcculloch(l:i)barberlawfinn.com




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                                                                                EXHIBIT "B"
      Case 4:16-cv-00071-SWW Document 1 Filed 02/05/16 Page 31 of 31




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Little Rock, AR 72201



                                      Isl R. Kenny McCulloch
                                    R. Kenny McCulloch




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